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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


E. JEAN CARROLL,
                               Plaintiff,
               v.
                                                          No. 1:20-cv-07311
DONALD J. TRUMP, in his personal capacity,
                    Defendant.


          DECLARATION OF ROBERTA A. KAPLAN IN SUPPORT OF
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO SUBSTITUTE

       I, ROBERTA A. KAPLAN, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am a partner of the law firm Kaplan Hecker & Fink LLP and counsel for

Plaintiff E. Jean Carroll (“Plaintiff”) in the above-captioned action.

       2.      I respectfully submit this Declaration in support of Plaintiff’s Opposition to

Defendant’s Motion to Substitute.

       3.      Attached hereto as Exhibit A is a true and correct copy of a letter sent from R.

Kaplan to M. Kasowitz on August 8, 2020.

       4.      Attached hereto as Exhibit B is a true and correct copy of a letter sent from R.

Kaplan to P. Burgo on August 13, 2020.

       5.      Attached hereto as Exhibit C is a true and correct copy of a letter sent from P.

Burgo to R. Kaplan on August 17, 2020.

       6.      Attached hereto as Exhibit D is a true and correct copy of a letter sent from R.

Kaplan to P. Burgo on August 18, 2020.

       7.      Attached hereto as Exhibit E is a true and correct copy of a letter sent from R.

Kaplan to P. Burgo on August 26, 2020.
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       8.     Attached hereto as Exhibit F is a true and correct copy of a letter sent from P.

Burgo to R. Kaplan on August 31, 2020.

       9.     Attached hereto as Exhibit G is a true and correct copy of a letter sent from R.

Kaplan to P. Burgo on September 1, 2020.

       10.    Attached hereto as Exhibit H is a true and correct copy of a letter sent from P.

Burgo to R. Kaplan on September 2, 2020.



 Dated: October 5, 2020
        New York, New York                       Roberta A. Kaplan




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